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          UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,

                              Plaintiff,

              v.                                         Citation Nos. 9020705; 9020829

 AUSTIN M. KURTH,

                            Defendant.


                                   STIPULATION AND ORDER


      On October 25, 2020, Defendant Austin M. Kurth received a citation (# 9020725) for driving

70 miles per hour when the speed limit was 55 miles on land under the control of Fort McCoy.

During plea negotiations, Mr. Kurth explained the circumstances of the citation and his personal

circumstances, which led the United States to believe that a non-moving violation was the most

just outcome for the case. Accordingly, the parties agreed that Mr. Kurth should be issued a non-

moving citation for a broken speedometer (# 9020829), and once he paid that citation, the original

citation would be dismissed. Mr. Kurth was issued that citation and has provided proof of

payment. Therefore, the parties agree to the dismissal of citation # 9020725.


/s/ Zachary J. Corey                            /s/ Austin M. Kurth
Zachary J. Corey                                Austin M. Kurth
Assistant United States Attorney                Defendant

      Upon receipt of this stipulation, it is ORDERED that citation # 9020725 is dismissed.


  s/Stephen L. Crocker
__________________________________          11/9/2021
                                           ___________
STEPHEN L. CROCKER                         Date
United States Magistrate Judge
